Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 1 of 34


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                             U N ITE D STATE S D IST    C T CO UR T

         CASENOFORTHESOUTHERNDIST
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                                                               FLO ( j jM
   THE UN ITED STA TES OF A M ERICA ex rel.
   FLORID A H EA LTH IN TEG RITY PARTNER S,            Fl
                                                       UNuDsE
                                                            oRIfly
                                                               SXALINA                y . aooxq
                                                                                             'u'
                                                       W ITH TH E FAL SE C LA IM S AC T,
               Plaintiffs,                             31U.S.C.j3730(b)(2)
                                                       D O N O T EN TER IN PA CER
   HU M AN A ,IN C .;                                  D O N O T PLA C E IN PR ESS BO X
   HU M AN A H EA LTH IN SU RAN CE COM PAN Y
   O F FLO RIDA ,IN C.;                                JU RY TR IA L D EM A ND ED
   ITEX M AN A G EM EN T O F FLORID A ,IN C .;
   K IN D RED ,lN C.;                                                 FILED BY      /        D.C.
                                                                                  /
   N AV IH EA LTH ,lN C.;
   REGEN TS PAR K ,lN C.;and
   TEN ET H EA LTH CA RE CO RP.,
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                                                                            o.oFFLA..MIAMi
               D efendants.                                                .




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Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 2 of 34




                                1.        N A TUR E O F TH E A CTIO N

          RelatorFloridaHealth lntegrity PartnersbringsthisFalse Claim sAct(tûFCA'')action on
   behalfoftheUnitedStatesofAmericaagainstHumana,lnc.(ûûllumana''),HumanaHea1th
   lnsuranceCompanyofFlorida,lnc.(tûl-lumanaofFlorida''),ltexM anagementofFlorida,lnc.
   (tiltex'')5Kindred,lnc.(ûkloindred'')5naviHea1th,lnc.(11Navi'')!$RegentsPark,lnc.(tlRegents
   Park'')5andTenetHealthcareCorp.(tt-l-enet''andtogether,thetûDefendants'')torecovermillions
   ofdollarsofoverpaym entsthatDefendantshave fraudulently obtained and retained from the

   federalgovem m ent.

          Defendants'fraudulentschem e involvesthe m anipulation ofhealthcare services provided

   to nursing hom e residents. ln casesw here itisprofitable forD efendants to deny patients

   necessary services,they w illcause patientsto lose theircurrentinsurance coverage orbe

   discharged from a nursing facility before theirrecovery is com plete. On the otherhand,where it

   isprofitable forD efendantsto provide m ore treatm entto patients than isappropriate,they w ill

   adm inisterunnecessary therapy services even to elderly orfrailpatients in orderto billM edicare

   athigherrates. ln both situations,patients are being hanned so thatD efendants can illegally

   inflate theirprofits from M edicare.

          D efendantRegents Park isa nursing facility located in Palm Beach County,Florida. A

   m em berofRelator Florida H ealth lntegrity Partners has worked atthis facility forapproxim ately

   ten years.

          D efendantH um ana isa private insurance com pany thatoffersM edicare A dvantage plans

   in Floridathrough itssubsidiary DefendantHumana ofFlorida,and acrossthenation through

   othersubsidiary com panies.M edicareAdvantageisagovernmentprogram thatcontractswith

   privatecompaniescalledMedicareAdvantageOrganizations(tiM AOs'')whoagreetocoverat


                                                    3
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 3 of 34




   leastallservices covered by traditionalM edicare and to com ply w ith allotherlegalrequirem ents

   ofthe program . M A O sare paid by the governm entbased on the expected costs ofcovering

   selwicesfortheirbeneficiary population. A ccordingly,a criticalaspectofthe M edicare

   Advantageprogram isthatM AOsareprohibitedfrom disenrollingbeneficiariesjustbecause
   they w illrequire m ore costly services. ln clearviolation ofthis prohibition,H um ana closely

   monitorsthecourseoftreatm entforitsbeneficiariesand intelwenesto pressure beneficiariesto

   disenrollfrom itsplansw hen m ore costly treatm entisneeded. N otonly doesthis illegalpractice

   deprive the governm entofthe services thatitpays Hum ana to cover,itdeprivespatientsoftheir

   choice ofinsurance atthe tim e they need itthe m ost.

          D efendantN aviis a private com pany thatoperatesasa ûlconvener''entity under a new

   governmentprogram calledBundledPaymentsforCareImprovement(itBPCI''),whichseeksto
   reduce the costofhealthcare w hile im proving patientoutcom es by offering incentive paym ents

   to groups ofhealthcare com paniesthatare ableto w ork togetherto provide patientsw ith

   necessary care atlow ercost. N aviand D efendantTenetw ork togetherunderthisprogram ,but

   ratherthan follow ing program requirem entsthey fraudulently increase theirprofits by sim ply

   denying patients necessary treatm ent. A lthough N avipublicly touts a data-driven approach to

   patientcare,in reality itoperatesa strictrationing system - itdirectsnursing hom esto discharge

   patientsthatw ere adm itted from a Tenethospitalafterno m orethan two w eeksregardlessof

   w hetherthose patients require furthertreatm ent. Thisfraudulentschem e hannspatientcare and

   underm ines the im portantpolicy goalsthatBPCIw asenacted to serve.

          DefendantKindred isone ofthenation'slargestprovidersofskilledtherapy services.

   M edicare paym entfor skilled therapy isbased on the length and frequency oftreatm ent,m eaning

   thatprovidersmakegreaterprotitsthem oreintensivetherapy theyprovide.Kindred and



                                                   4
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 4 of 34




   Regents Park fraudulently increase theirM edicare paym ents by keeping patientson intensive

   skilled therapy regim ensfar longerthan necessary.

          Together,these practices hanu patientsand defraud M edicare atevery turn. Patients

   contined to nursing hom es are atthe m ercy ofhealthcare providersand Defendantstreatthem as

   pawns,denying them needed treatm entand forcing ulm ecessary treatm entupon them depending

   on w hich is m ore profitable.These practicesviolate the FCA and entitle the United States to

   treble dam ages,penalties,and interest.

                                ll.     JURISDICTJON ANp YENUE

          ThisCourthasjurisdictionunder31U.S.C.jj3730etseq.and28U.S.C.jj 1331.This
   CourtmayexercisepersonaljurisdictionoverDefendantsbecausetheyresideand/ortransact
   business in thisD istrictorcom m itted the proscribed actsin this D istrict. Venue lies in this

   Districtpursuantto3lU.S.C.j3732(a)inthatmanyoftheactscomplainedoftookplaceinthis
   D istrictand/orthe D efendants can be found,reside,ortransactbusinessin this D istrict.

                                            111.   PA R TIES

          The United States ofA m erica isthe realparty in interestto the claim softhisaction.

   10.    The D epartm entofH ealth and H um an Servicesand the Centers forM edicare &

   M edicaid Selwices(1ûCM S'')adm inistertheM edicareand M edicaid program s.
          RelatorFlorida H ea1th lntegrity Partners is apartnership fonned forthe purpose of

   prosecuting thisaction,and itsm em bershave personalknow ledge ofthe factsalleged in this

   com plaint.

   12.    H um ana,lnc.is a D elaw are corporation with principalexecutive officesat500 W est

   M ain Street,Louisville,Kentucky 40202. Humana'scomm on stock islisted on theN ew York

   Stock Exchange.



                                                     5
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 5 of 34




          AccordingtoHumana's20l8AmzualReport,ûûgdluring20l8,81% ofourtotalpremiums
   and servicesrevenue w ere derived from contractsw ith the federalgovernm ent,including 15%

   derived from ourindividualM edicare Advantage contracts in Florida w ith ...CM S,underwhich

   w e provide health insurance coverage to approxim ately 636,800 m em bersasofD ecem ber 31,

   2018.55 H umana 2018 A nnualReportat3.

   14.    H um ana isa holding com pany thatconducts businessthrough state-licensed insurance

   subsidiaries. D efendantH um ana ofFlorida isthe H um ana subsidiary thatoffersM edicare

   A dvantage Plans in the State ofFlorida.

          D efendantKindred isa privately-owned healthcare com pany. K indred's predecessor

   parentcom pany,K indred,lnc.,w aspublicly-traded before being purchased in 2018 by Hum ana

   and tw o private equity firm s,TPG Capitaland W elsh,Carson,Anderson & Stow e. Follow ing

   this purchase,K indred,lnc.wasseparated into tw o com panies. D efendantK indred isnow

   ow ned by TPG Capitaland W elsh,Carson,A nderson & Stow e,and presently operatesits

   contractrehabilitation therapy businessthrough itssubsidiary Rehabcare,Inc. See ûtl-lum ana,

   Together with TPG Capitaland W elsh,Carson,Anderson & Stowe,Announce Com pletion of

   theAcquisitionofKindredHealthcare,lnc.,''KindredPressRelease(July2,2018),availableat
   https://-   .kindredhealthcare.com /new s/zol8/o7/oz/hum ana-tonether-tpa-capital-and-welsh-

   carson-anderson-stow e;Rehabcare W ebsite,available athttpsr//w w w.rehabcare.com .

   16.    D efendantN aviisa private com pany thatis owned in partby investm entfundsm anaged

   by Clayton,Dubilier& Rice(55% ownershipinterest)andinpartbyCardinalHealth,Inc.
   (45%).Seekçclayton,Dubilier& RiceClosesInvestmenttoAccelerateGrowthofnaviHealth ,''
   CDR PressRelease(Aug.1,2018),availableathttps://-         .cdr-inc.coe news/press-




                                                 6
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 6 of 34




   release/clagon-dubilier-rice-closes-investment-accelerate-gro< h-navihealth.Navi'scorporate

   headquarters are located at210 W estw ood Place,Suite 400,Brentw ood,Tennessee 37027.

          N avicurrently servesm orethan two m illion insured m em bersand m anagescare

   transitions for approxim ately 800 acute hospitals and 11,000 post-acute care facilities

   nationw ide.

   18.    D efendantRegentsPark operatesthe 180-bed nursing facility RegentsPark N ursing &

   Rehabilitation Centerlocated at6363 V erde Trail,Boca Raton,Florida 33433. Regents Park's

   N PlN um ber is 1780690339.

          D efendantItex isa Florida for-profitcorporation thatoperates Regents Park as wellasa

   num berofothernursing hom e facilities in Florida.

   20.    D efendantTenetisa m ultinationalhealthcare conglom eratethatoperates over80

   hospitals and 475 outpatientcenters. Tenetisa Fortune 500 com pany thatispublicly-traded

   w ith stock listed on the N ew Y ork Stock Exchange. 1ts headquartersislocated at 1445 Ross

   A venue,Suite 1400,Dallas,Texas 75202.

          A m ong the hospitalsow ned and operated by Tenetare D elray M edicalCenter

   CiDe1ray''),locatedat5352LintonBlvd.,DelrayBeach,Florida33484,andW estBocaM edical
   Center(tlW estBoca''),locatedat21644 StateRd.7,BocaRaton,Florida33428.
                                         TH E FA LSE CLA IM S A C T

   22. TheFalseClaimsAct(:tFCA'')providesinpertinentpartthatanypersonwho:
                  (A)     knowinglypresents,orcausestobepresented,afalseorfraudulentclaim
              forpaym entorapproval,
                                   '

                  (B)     knowinglymakes,uses,orcausestobemadeorused,afalserecordor
              statementmaterialtoafalseorfraudulentclaim'
                                                        ,(orj
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 7 of 34



                                      +**


                (G)    knowinglymakes,uses,orcausestobemadeorused,afalserecordor
             statem entm aterialto an obligation to pay ortransm itm oney orproperty to the

             Governm ent,orknow ingly concealsorknow ingly and im properly avoidsor

             decreasesan obligation to pay ortransm itm oney orproperty to the Governm ent,

             isliabletotheUnitedStatesGovernmentLfortrebledamagesandsuchpenaltiesas
             areallowedbylawl.


         The FCA furtherprovides thattdknow ing''and ûlknow ingly''

                (A)     meanthataperson,withrespecttoinfonnation-
                               has actualknow ledge ofthe inform ation;

                        (ii)   actsindeliberateignoranceofthetruth orfalsityofthe
                        infonnation;or

                               acts in reckless disregard ofthe truth orfalsity ofthe inform ation;

                        and

                (B)     requirenoproofofspecificintenttodefraudl.l
    31U.S.C.j3729(b)(1).
         Aniçobligation,''asthattenn isusedin31U.S.C.j3729(a)(1)(G),includestlthe
   retentionofanyoverpayment.''31U.S.C.j3729(b)(3).
   25.   A n ûçoverpaym ent''is defined in the SocialSecurity A ctas tdany fundsthata person

   receivesorretainsundersubchapterXVlIlgMedicarejorXIX gM edicaidltowhichtheperson,
   afterapplicablereconciliation,isnotentitled.''42U.S.C.j1320a-7k(d)(4)(B).




                                                 8
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 8 of 34




   26.   A n overpaym entm ustbe tûreported and returned''w ithin 60 days afteritw asidentified.

   42U.S.C.j 1320a-7k(d)(2).
          Section 3729(a)(1)oftheFederalFCA providesthatapersonisliabletotheUnited
   States Governm entforthree tim esthe am ountofdam agesthatthe G overnm entsustainsbecause

   ofthe actofthatperson,plusacivilpenalty of$5,000 to $10,000 perviolation.Pursuantto the

   FederalCivilPenaltieslntlationAdjustmentActof1990,asamendedbytheDebtCollection
   lmprovementActof1996,28U.S.C.j2461(note),64Fed.Reg.47099,47103(1999),and28
   C.F.R.j85.3(2015),theFederalFCA civilpenaltieswereadjustedto$5,500to $11,000per
   violation forviolationsoccurring on orafterO ctober23,1996.In accordance w ith the Federal

   CivilPenaltieslnflationAdjustmentActof2015,thosesameFederalFCA civilpenaltyamounts
   w ere m ade applicable to allviolationsoccurring on orbefore N ovem ber2,2015.See 28 C.F.R .

   jj85.3& 85.5(2016);8lFed.Reg.42491,42500(2016).ln accordancewiththeBipartisan
   BudgetActof2015,28U.S.C.j2461(note)(2015),theDepartmentofJusticehasannually
   adjustedthepenaltiesapplicabletoviolationsoccurringafterNovember2,2015andassessedor
   enforced afterA ugust 1,2016.A softhe filing ofthis Com plaint,the FederalFCA civilpenalty

   amountshavebeenadjustedforviolationsoccurringafterNovember2,2015andassessedor
   enforced afterJanuary 29,2018to $11m181to $22,363 perviolation.28 C.F.R.j 85.5 (2018).
                              M EDICARE PROGM M REO UIREM ENTS

          A.     M edicare Advantage

   28.    M edicare is a federalprogram adm inistered by CM S thatprovideshealth insurance

   benefitstoindividualsage65andolderandthedisabled.42U.S.C.j 1395cetseq.PartsA and
   B ofthe M edicare Program are know n aslktraditional''M edicare. M edicare Pal4 A covers




                                                 9
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 9 of 34




   inpatientand institutionalcare. M edicare PartB coversphysician,hospitaloutpatient,and

   ancillary servicesand durable m edicalequipm ent.

          UnderMedicarePartC (theûtMedicareAdvantageProgram''),M edicarebeneficiariescan
   optoutofthetraditionalM edicareProgram (PartsA andB)and insteadenrollinmanagedhealth
   insuranceplanscalledMedicareAdvantagePlans(ItMA Plans'')thatareownedandoperatedby
   private com paniescalled M edicare A dvantage Organizations. M A Plansm ustprovide M edicare

   beneficiariesatleastallthe servicesthatthey are entitled to receive from the traditional

   M edicare program .

          The M edicare Program payseach M A O a predeterm ined m onthly am ountfor each

   beneficiary in the plan. Thism onthly paym entisknow n as a tûper-m em ber,per-m onth''capitated

   payment.Thesecapitatedpaymentsarerisk-adjustedforeachbeneficiary basedondemographic
   factors(e.g.,gender,age)andhealthstatus.Byrisk-adjustingforhealthstatus,CM S paysmore
   forbeneticiariesw ith higherrisk scoresthan forbeneficiaries with low errisk scores. CM S

   currently employsahealth-basedriskadjustmentmodelknownastheHierarchicalConditions
   Category m odel,which takesinto accountpatients'diagnosesfrom healthcare encountersthat

   are subm itted by the M A O to CM S.

          TheHierarchicalConditionsCategoryadjustmentmodelisprospective,meaningthata
   beneficiary'srisk scoreforaparticularyearisdetennined byhisorhermedicalconditions

   during the prioryear.

          The legalobligationsofM A Os underthe M edicare Advantage Program are setforth in

   CM S regulationsand M A O scertify annually in w riting to com pliance w ith those obligations.

   42C.F.R.jj422.504 & 422.505(PartC).




                                                   10
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 10 of 34




           CM S rulesrequire thatM A Os certify theiradherence to requirem entsregarding w ho

    enrollsin the plan,the servicesprovided to those m em bers,and underwhatlim ited conditions

    m em bersm ay be disenrolled. ln general,these rulesrequire M A plansto acceptany M edicare

    beneficiary w ho iseligible to enrollw ithoutregard forpreexisting health conditionsorprior

    claim sexperience and are prohibited from discrim inating on these basesin theirenrollm entand

    disenrollm entactivities,orencouraging m em bersto disenrollfrom the plan forany reason.

    34.    Thisprohibition againstdiscrim ination on the basisofhealth status is an essential

    com ponentofany healthcare program thatdepends on capitation ratesasa m eansof

    reimbursement.Suchmonthlyratesarebasedonprojectedaveragecostspermemberpermonth,
    and thusrecognize thatsom e m em bersw illrequire m ore care than the capitation rate w illcover,

    butm ostothersw illrequire less care. A s a generalrule,a sm allsegm entofthe m em bership of

    m ostm anaged care plans- the sickestm em bers- generally accounts fora substantialportion of

    allofthe healthcare expensesforthe entire plan. Accordingly,a substantialportion ofthe

    capitation rate foreach m em beris actually attributable to the expected costoftreating those few

    sickestpatients.

    35.    Forthisreason,an M A O thatStcherry picks''itsenrolled population by coercing the

    sickestm em bersto disenrollfrom its plan w illreceive a w indfallatthe expense ofCM S and

    otherM A Plansbecause itsreim bursem entsare based on the assum ption thatprofitsgenerated

    onthemajorityofmemberswillbeoffsetbylossesonthosesick members.Thus,the
    prohibition againstcherry-picking in the contractsbetween M A O s and CM S isan essential

    com ponentofthisprogram ,withoutwhich thecapitation ratesetting processdoesnotwork.

    36.    This is so because risk status calm otpredictthe exactcostofproviding covered health

    servicesto a given patient.Two patientswiththesame overallrisk scorem ay costaplan



                                                    11
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 11 of 34




    substantially differentam ounts in claim sexpensew hen onepatientrequiresm ore and/orm ore

    expensive servicesthan the other.

           Sim ply put,M A O sw illlose m oney on beneficiariesw hose claim s exceed theirrisk-

    adjustedMedicarepayments,whileMAOsthatsuccessfullyreducethecostofprovidingal1
    necessary care to their beneficiariesw illm ake a protit,as CM S calculatesthe am ountofits

    paym ents to M A Os based on beneficiaries'diagnoses and notby theirclaim sexpense.

    38. Therisk-adjustedcapitatedpaymentsystem isvulnerabletomanipulationbydishonest
    M A Os. An M A O thatcan identify in advance which beneficiariesw illrequire m ore expensive

    servicesthantheaveragefortheirdiagnosiscouldillegallypressurejustthoseindividualsto
    disenrollfrom theirplans and shiftthem to another M A Plan orto traditionalM edicare. Such a

    schem e w ould resultin the M A O being overpaid by CM S because they are notin factproviding

    allofthe covered healthcare servicesthatare included in the paym entsthey receive from CM S.

           Federallaw respondsto thisrisk by prohibiting M A O s from discrim inating am ong

    beneficiaries on the basisoftheirhealth status,and from taking any action thatwould encourage

    abeneficiarytodisenrollfrom theirplan.42C.F.R.j422.110(a)($tLA1n MA organizationmay
    notdeny,lim it,orcondition the coverage orfurnishing ofbenefits to individualseligible to

    enrollin an M A plan offered by the organization on the basis ofany factorthatis related to

    healthstatus''l;42C.F.R.j422.74(a)(ttExceptasprovidedinparagraphs(b)through(d)ofthis
    section,an M A organization m ay not...orally orin writing,orby any action orinaction,request

    orencourageanindividualtodisertroll.'').
    40.    An M AO m ay only disenrollabeneficiary in lim ited extenuating circum stances,such as

    when the beneficiary doesnotpay a required prem ium ,com m its ildisruptive behavior,''no longer

    residesintheplanarea,ordies.42C.F.R.j422.74/).BeforeanM AO candisenrollanactive


                                                   12
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 12 of 34




    beneficiary,itm ustgive priornotice to thatbeneficiary explaining the reasonsfordisenrollm ent.

    42C.F.R.j422.74(* .
           H istorically,very few people voluntarily switch from an M A Plan to traditional

    M edicare. A K aiserstudy found thatin 2013 and 2014,only 2% ofM edicare A dvantage

    enrolleesvoluntarily disenrolled from theirM A Plan and switchedto traditionalM edicare. The

    H enry J Kaiser Fam ily Foundation,i4M edicare Advantage Plan Sw itching: Exception or

    Norm?''(Sept.2016).
    42.     To keep M edicare beneficiariesfrom continually revolving am ong M A Plans,or

    disenrolling from M A Plans to traditionalM edicare,CM S created lim ited w indow s during which

    beneficiariesm ay electto enrollordisenroll. These enrollm entw indow sinclude the A lm ual

    Election Period from N ovem ber 15 to Decem ber31,in which beneficiaries can freely m ove in or

    outofM A plans,and the Open Enrollm entPeriod,from January 1to M arch 31,in w hich

    beneficiariesare allowed to m ake a single election to enrollordisenrollfrom an M A Plan.

    SpecialElection Periodsalso create a fixed w indow oftim e forbeneficiariesw hose statushas

    changed,such asby m oving to a new county orlosing coverage through their em ployer,to enroll

    in an M A plan.

    43.    In addition to the above requirem ents,M A O sm ustim plem entan effective com pliance

    program toensurethatM edicareAdvantageProgram rulesarefollowed.42C.F.R.j422.503($.
           Specifically,eachM AO mustûlgaldoptandimplementaneffectivecomplianceprogram,
    w hich m ustinclude m easures thatprevent,detect,and correctnon-com pliance w ith CM S'

    program requirem entsasw ellasm easuresthatprevent,detect,and correctfraud,w aste,and

    abuse.''42C.F.R.j422.503(b)(4)(vi).
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 13 of 34




           B.     BundledPaymentsforCarelmprovement(BPCI)
    45.    The CentersforM edicare & M edicaid Services im plem ented the Bundled Paym ents for

    Carelmprovement(t:BPC1'')initiativeundertheauthority oftheCenterforMedicare&
    M edicaid Innovation to testw hetherlinking providerpaym entsforan tûepisode''ofcare could

    reduce M edicare paym entsw hile m aintaining orim proving the quality ofcare to patients.

    46.    BPCIis a voluntary initiative thatallow sparticipantsto choose am ong severalkey design

    options,such asw hatpatientdiagnoses w illbe included. The BPC Iinitiative rew ards

    participants forreducing M edicare paym ents foran episode ofcare relative to a targetprice. The

    clinicalepisodesaredefinedbythepatients'M edicareSeverity-DiagnosisRelatedGroup (M S-
    DRG).
    47.    Am ong the goalsofthe BPCIinitiative isto im prove tipatientand fam ily engagem ent

    throughthecarecontinuum,''by,forexample,ûûcomunicatlinglandengagginglwithproviders,
    patient,and fam ily throughoutthe episode by providing ongoing care and support,''and

    tdengagginglpatientandfamilythrough educationand shareddecision-makingindischarge
    planning and placem entdecisionsto supportpatientrightsand preferences.'' CM S, ''Bundled

    PaymentsforCareImprovement(##CJ?lnitiative.PublicToolkit''(RevisedFeb.2019.
                                                                              ).
    48.    BPCIhasbeen im plem ented in fourûtM odels.'' M odel1 began firstand concluded on

    D ecem ber 31,20l6. M odel 1 detined an episode ofcare asthe inpatientstay in the acute care

    hospital. M odel2 hasthe m ostcom prehensive bundle,w hich includesthe triggering hospital

    stay(i.e.,theblanchorhospitalization'')anda11itemsandprofessionalsenices(withcertain
    exclusions)furnishedwithinthechosenepisodelengthof30,60,or90dayspost-discharge.The
    M odel3 bundleincludesitem sand servicesfurnished afterthe anchorhospitaldischarge,within

    the chosen episode length of30,60,or90 days. The episode startsw hen a beneficiary is



                                                   14
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 14 of 34




    adm itted to an episode-initiating skilled nursing facility,hom e health agency,inpatient

    rehabilitation facility,orlong-term care hospitalw ithin 30 daysofdischarge from a

    hospitalization fora chosen clinicalepisode. The M odel4 bundle includesthe anchor

    hospitalization,allprofessionalservicesduring the anchorhospitalization,and any readm issions

    and associated professionalservicesthatoccurwithin 30 daysofdischargethatarenotexplicitly

    excludedfrom thebundle.LewinGroup,''CMSBundledPaymentsforCarelmprovement
    InitiativeModels2-4:Year5Evaluation& MonitoringAnnualReport''(Oct.2018,
                                                                          ),at14(the
    tûlwewinRepolf')
    49.    BPCIparticipantshave incentivesto reduce M edicare paym entsforthe bundle of

    services in an episode ofcare. UnderM odels 2 and 3,M edicare episode paym ents are com pared

    to atargetpricedetermined by CM S thatisbasedon historicalpaymentsattributed to the

    episode-initiating provider forthe sam etype ofclinicalepisode. W hen aggregate M edicare

    episode paym ents are lessthan thetargetprice,Aw ardees m ay receive netpaym ent

    reconciliation am ounts equalto the difference,w hich they can keep or share with theirpartnering

    providers. W hen aggregate episode paym entsare higherthan the targetprice,A wardees m ay

    have to pay am ountsto CM S. ln thisw ay,M odel2 and 3 Aw ardeeshave incentivesto reduce

    aggregate episode paym ents. few in Reportatl3.

    50.     One type ofparticipantinvolved in BPCIisa kçconvener,''w hich isan entity thatdoes not

    itselfprovide healthcare servicesbutassists othersin providing those services. Convenersm ay

    assistw ith clinicalepisode selection,provide adm inistrative supportand data analysis,and m ay

    assistproviders with tracking patients afterdischarge through the provision ofservicessuch as

    casem anagersorcallcentersthatconductfollow-up phonecallswith patients.fewin Reportat




                                                    15
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 15 of 34




           ln M odel2,the episode-based paym entis retrospective. M edicare continues to m ake fee-

    for-service paym entsto providersand suppliers furnishing services to beneficiariesin M odel2

    episodes,afterwhich the totalpaym entfora beneficiary'sepisode is reconciled againsta

    bundledpaymentamount(thetargetprice)predeterminedbyCM S.Participantschooseto
    participateinoneormoreofthe48episodes,andtheymustselectthelengthofeach episode(30,
    60,or90daysfollowingdischarge).CMS,''BundledPaymentsforCarelmprovementInitiative
    (BPCI),BackgroundonModel2forProspectivePartici
                                                 pants''(Feb.2014.),availableat
    httns.
         '//innovation.cms.zov/Files'
                                    /x/Bpcl M odelzBackgroundpdf.
           The totalM edicare spending for included item s and services for an eligible beneficiary

    duringthelengthoftheepisodeiscomparedtoapredetenuinedbundledpaymentamount(the
    targetprice)followingtheconclusionoftheepisode.Thisretrospectivereconciliationcompares
    the totaldollaram ountofM edicare fee-for-service expendituresforitem s and selwices

    (collectivelyreferredtoasttAggregateFFSPaymenf')furnishedbytheAwardee,theEpisode
    lnitiator,and otherprovidersand suppliers during an episode w ith the targetprice. This

    retrospective reconciliation detenuines whetheram ounts are ow ed to the A w ardee orto CM S.

    fJ.

           N otably,a recentreporton the progressof BPCIfound thatw hile program participants as

    a whole reduced healthcare paym entsduring covered episodesof care,the incentive paym ents

    thatparticipantsreceived from CM S were so large thatthey exceeded the am ountofsavings

    generated forM edicare by the program as a whole. fewin Reportat3.

           C.     M edicare C overage For Skilled Therapy

    54.    M edicarePartA generally coversmedically necessary skilled nursing andrehabilitation

    care.Subjecttocertainconditions,MedicarePartA coversupto 100daysofskillednursingand


                                                   16
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 16 of 34




    rehabilitationcareforabenefitperiod(i.e.,spellofillness)followingaqualifyinginpatient
    hospitalstayofatleastthreeconsecutivedays.42U.S.C.j 1395d(a)(2)(A);42C.F.R.
    j409.61(b)-(c);seealso42U.S.C.j 1395y(a)(1)(A);42U.S.C.j 1320c-5(a)(1)(providersmust
    assure thatthey provide services econom ically and only when,and to the extent,m edically

    necessaryl;42U.S.C.j l320c-5(a)(2)(servicesprovidedmustbeofaqualitywhich meets
    professionallyrecognizedstandardsofhealthcare).Afterthefirst20days,howeversaco-
    paymentoftwentypercent(20%)isrequiredofthepatient.
    55.    The conditionsthatM edicare im poseson itsPartA skilled nursing facility benetits

    include'
           .(1)thatthepatientrequiresskillednursingcareorskilledrehabilitationservices(or
    both)onadailybasis,(2)thatthedailyskilledservicesmustbeservicesthat,asapractical
    matter,canonlybeprovided inaskillednursingfacilityonaninpatientbasis,and(3)thatthe
    servicesareprovidedto addressacondition forwhich thepatientreceived treatmentduring a

    qualifying hospitalstay orthatarose while the patientwasreceiving care in a skilled nursing

    facility(foraconditiontreatedduringthehospitalstay).42U.S.C.j 1395f(a)(2)(B)'
                                                                                ,42C.F.R.j
    409.31(b).
           M edicare requires thata physician orcertain otherpractitionerscertify thatthese

    conditionsare m etatthe tim e ofa patient'sadm ission to the nursing facility and to re-certify to

    the patient'scontinued need forskilled rehabilitation therapy servicesatregularintervals

    thereafter.See42U.S.C.j1395f(a)(2)(B),
                                         'M edicareGen.Info.,Eligibility,(f,Entitlement
    M anual,ch.4,f4p.J.
    57.    To beconsidered a skilled service,itmustbe tûso inherently com plex thatitcan besafely

    and effectively perform ed only by,orunderthe supervision of,professionalorteclmical
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 17 of 34




    personnel,''42C.F.R.j409.32(*,such asphysicaltherapists,occupationaltherapists,orspeech
    pathologists.See42C.F.R.j409.31(a).
           Skilled rehabilitation therapy generally doesnotinclude personalcare services,such as

    the generalsupervision ofexercisesthathave already been taughtto a patientorthe perform ance

    ofrepetitiousexercises(e.g.,exercisestoimprovegait,maintainstrengthorendtzrance,or
    assistivewalking).See42C.F.R.j409.33(* .ûtManyskillednursingfacility inpatientsdonot
    require skilled physicaltherapy servicesbutdo require services,w hich are routine in nature.

    Those services can be perform ed by supportive persorm el;e.g.,aidesornursing personnel....''

    MedicareBenehtPolicyManual,ch.8,JJp.#.1.1.
    59.    ln orderto assess the reasonableness and necessity ofthose services and whether

    reim bursem entis appropriate,M edicare requiresproperand com plete docum entation ofthe

    servicesrendered to beneticiaries.In particular,the M edicare statute providesthat:ISNO paym ent

    shallbe m ade to any providerofservices orotherperson underthis partunlessthere hasbeen

    furnished such inform ation asm ay be necessary in orderto determ ine the am ountsdue such

    providerorotherperson underthispal4 forthe period w ith respectto w hich the am ounts are

    beingpaidorforanypriorperiod.''42U.S.C.j 1395l(e).
    60.    Underitsprospectivepaymentsystem (tTPS''),M edicarepaysanursingfacilityapre-
    determ ined daily rate foreach day of skilled nursing and rehabilitation servicesitprovidesto a

    patient.See63Fed.Reg.26,252,26,259-60 (May l2,1998.).Theamountpaiddependsonthe
    resource needsofthe residents.Residentsw ith heavy care needsrequire m ore staffresourcesand

    paym entlevels are thushigherthan forthose residentsw ith fewerneeds.

           Thedaily PPS ratethatM edicarepaysanursing facility depends,in large part,on the

    ResourceUtilizationGroup(ttRUG'')towhichapatientisassigned.Each distinctRUG is


                                                   18
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 18 of 34




    intended to reflectthe anticipated costs associated w ith providing nursing and rehabilitation

    servicesto beneficiariesw ith sim ilar characteristics orresource needs.Since O ctober 1,20l0,

    M edicare hasutilized the RU G -IV classification system pursuantto w hich there are 66 RU G

    levels.

    62.       There are generally five rehabilitation RU G levels forthosebeneficiariesthatrequire

    rehabilitationtherapy:Rehab UltraHigh(known ask1RU''),RehabVeryHigh(1tRV''),Rehab
    High (1iRH'')5RehabM edium (ûûRM'')'andRehabLow (1kRL'').
    63.       The rehabilitation RU G levelto w hich a patientisassigned depends upon the num berof

    skilled therapy m inutesa patientreceived,the num ber ofdaysperw eek the therapy w asreceived

    and the num beroftherapy disciplinesthe patientreceived during a seven-day assessm entperiod

    tknown asthetilookbackperiod'').Thechartbelow reflectstherequirementsforthefive
    rehabilitation RU G levelsunderthe RU G-IV classification system .

        Rehabi
         RUG lLitation                         R equirem ents to A ttain RU G Level
                 evel
                             m inim um 720 m inutesperw eek totaltherapy com bined from atleasttwo
      RU = U ltra high       therapy disciplines'
                                                ,one therapy discipline m ust be provided at least 5
                             da s erw eek
      RV =                   m inim um 500 m inutesperw eek totaltherapy'
                                                                        ,one therapy disciplinem ust
              V ery high     b
                              e rovided atleast5 da s erw eek
      RH =                   m inim um 325 m inutesperw eek totaltherapy;one therapy disciplinem ust
              High           be rovided atleast5 da s erw eek
      RM =                   m inim um 150 m inutes perw eek totaltherapy'
                                                                         ,m ustbe provided atleast
               M edium       5 da s erweek butcan be an m ix ofthera disci lines
      RL =                   m inim um 45 m inutes perw eek totaltherapy;m ustbe provided atleast3
              Low            da s erw eek butcan be an m ix ofthera disci lines

    63 Fed.Reg.at26,262.

    64.       M edicare paysthe m ostforthose beneficiariesthatfallinto the U ltra H igh RU G level.

    TheUltraHighRUG level(RU)isitintendedtoapplyonlytothemostcomplexcasesrequiring




                                                     19
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 19 of 34




    rehabilitative therapy wellabove the average am ountofservice tim e.''63 Fed.Reg.26,252,

    26,258 (May l2,l9983.
           The rehabilitation RU G levelhasa significantim pacton the M edicare daily rate fora

    benetk iary receiving skilled therapy.ForFiscalYear2019,thedaily ratesin Palm Beach

    County were lessthan $400/day forLow,approxim ately $400/day forM edium,$450/dayfor

    High,$500/day forVery High,and $600/day forUltraHigh.

    66. CompletionoftheLong-Term CareM inimum DataSet(ttM DS'')isaprerequisiteto
    paym entunderM edicare.See 63 Fed.Reg.at26,265.Further,skilled nursing facilitiesm ustuse

    the RU G-IV levelthatthe CM S software has calculated,and thatCM S hasthen validated,w hen

    billsare subm itted forpaym ent.The M D S itselfrequires an expresscertitication on behalfofthe

    providerthatstates'
                      .

           lcertify thatthe accom panying infonuation accurately reflectsresidentassessm ent
           inform ation forthisresidentand that1collected orcoordinated collection ofthis
           inform ation on the dates specified.To the bestofm y know ledge,this inform ation
           w as collected in accordance w ith applicable M edicare and M edicaid requirem ents.
           1 understand that this inform ation is used as a basis for ensuring that residents
           receiveappropriateand quality care,andasabasisforpaym entfrom federalfunds.
           lfurtherunderstand thatpaym entofsuch federalfundsand continued participation
           in the governm ent-funded health care program sisconditioned on the accuracy and
           truthfulnessofthisinformation,and thatlmay bepersonally subjectto ormay
           subject my organization to substantial criminal, civil, and/or administrative
           penalties for subm itting false inform ation.I also certify that I am authorized to
           subm itthisinform ation by thisfacility on itsbehalf.

    M DS- Ver.3.oforNursing HomeResidentAssessmentand CareScreening.
           A patient'sRU G inform ation isincorporated into the H ea1th lnsurance Prospective

    PaymentSystem (HIPPS)code,whichM edicareusestodetenninethepaymentamountowedto
    the nursing facility.The HIPPS code m ustbe included in Fonu CM S-1450,w hich nursing

    facilitiessubm itelectronicallyto M edicareforpaym ent.M edicare ClaimsProcessing M anual,

    ch.25,J 7J.J.M edicarepaymentwilldependlargelyontheHIPPScodethenursingfacility

                                                   20
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 20 of 34




    subm itted as pa14 ofForm CM S-1450.See 63 Fed.Reg.at26,267,
                                                               .M edicare Claims Processing

   M anual,ch.25f 7J.J.
    68.    Skilled nursing facilitiessubm itForm CM S-1450 electronically under M edicare PartA to

    M edicarepaymentprocessorsknownasM edicareAdministrativeContractors(ûtM ACs''),
    form erly know n as FiscalIntennediaries.M A CSprocessand pay M edicare claim s.

                                  VI.     FA CTU AL A LLEG A TIO N S

           A.      H um ana Illegally Exerts Pressure To D isenrollO r D eny N ecessary Services
                   To PatientsW hen The Services They R equire Becom e C ostly

    69.    M any residents atRegentsPark are covered by H um ana's M edicare A dvantage Plans.

    A s explained above,Hum ana losesm oney w hen these patients require treatm entthatism ore

    expensive than is typicalfortheir diagnosis,and profitsw hen they require less.

           Regents Park adm inistrative staffhold W eekly M eetings to discussthe plan ofcare for

    each oftheirresidents.

    71.    Humanasendsarepresentativetoparticipatein theseW eekly M eetingseven though that

    representative has no clinicalinteraction w ith its beneficiary residents.

    72.    The function ofH um ana's representative is sim ple - thisperson m onitorsthe plan ofcare

    forHum ana's insureds to identify those patientsthatw illrequire expensive treatm entin the near

    future. A s soon as itbecom esapparentthata benefciary w illrequire costly services and thereby

    costH um ana m oney,its representative directs RegentsPark staffto pressure thatindividualto

    disenrollfrom Hum ana'sM edicare Advantage Plan.

           ln caseswheredisenrollm entisnotpossibleorthem ostprofitablecourse forHumana,its

    representative w illdirectRegents Park staffto sim ply lim itthe am ountand nature ofhealthcare

    selwicesthatitprovidesto agiven resident.




                                                     21
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 21 of 34




    74.    lndeed,even in the absence ofim m inentexpensive care,the Hum ana representative w ill

    directRegentsPark staffto discharge patients before they have fully recovered and while they

    stillrequire additionaltreatm ent.

           Thispractice isin directviolation ofM edicare rulesthatprohibitM A O s from taking any

    action to encourage beneficiariesto disenroll,orto lim ittheirability to receive covered

    healthcare services.

    76.    The Adm inistratorofRegents Park m akesitclearto the facility's staffthatthey m ust

    follow the direction ofthe Hum ana representative. H um ana can exertleverage overthe facility

    because ithas influence overa large beneficiary population and could guide beneficiaries aw ay

    from RegentsPark and towards othernursing facility com petitors.

    77.    A ccordingly,Regents Park staffw illapproach the patientsthatHum ana w ishesto

    disenrolland tellthem ortheirfam iliesthatthey should switch theircoverage to traditional

    M edicare and/orto M edicaid. Regents Park'sA ssistantA dm inistratororotherstaffw illprepare

    thepaperwork to disenrollpatientsfrom Humanaand,whereapplicable,to havepatientsapply

    forM edicaid.

    78.    The H um ana representative suggests waysthatfacility staffcan encourage patientsto

    disenrollorleave the facility,such asby telling them ortheirfam iliesthata ûlnew baseline''has

    been reached in theirrecovery and thatthey willnotim prove with additionaltreatm ent. Thisis

    patently false,asthe reason thatH um ana selected the patientfordisenrollm entw as because they

    w illrequire costly treatm ent.

    79.    Atthedirection ofHumana,facility staffwillfalsely tellpatientsthatHum ana's

    M edicare A dvantage plan does notcoveras m uch treatm entastraditionalM edicare,and that




                                                   22
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 22 of 34




   they can receive m ore treatm entand stay atR egentsPark longer ifthey sw itch to traditional

    M edicare.

    80.    lfa patientresistsdisenrolling from H um ana'sM edicare Advantage Plan,facility staff

    willencourage the residentto leave the facility and receive hom e health services instead,orm ay

    sim ply discharge the residenteven though they require furthertreatm ent.

    81.    O ne m em berofRegentsPark staffopenly reassured the Hum ana representative thatthey

    would switch aHum anabeneficiary to M edicaid even ifthatresulted in the individualhaving to

    leave the facility. ln a sim ilarexam ple,a residentw ho w as a H um ana beneficial'
                                                                                       y w astold the

    facilitywould send them hom ewith a wheelchair,sincethatwascheaperforHumanathan

    continuing to coverthe costofthatpatient'snecessary treatm ent.

    82.    ltw as discussed atW eekly M eetingsthatevery Hum ana beneficiary should have a ltplan

    B,''in the likely eventthey did notrem ain atRegentsPark long enough to reach theirfu11clinical

    potential.Patientsweredirected to bedischarged early unlessthey required so littlecareasto

    notneed a nursing hom e atall.

           This coercion w asapplied withoutregard to patients'bestinterests. M A O sare legally

    required to coveratleasttherangeofservicesoffered by traditionalM edicareand many cover

    m ore. A sa resultofthisfraudulentand illegalconduct,residents ofRegentsPark are m ade to

    sw itch to a healthcare option w ith lessercoverage,orto have theirhealthcare benefitsim properly

    lim ited,atprecisely the tim e thatthey require increased care.

    84.     Hum ana'sactionsdescribed herein increase the governm ent's tinancialburden and

    underminetheM edicareprogram in atleastthreeways:

                   First,when Hum ana disenrollsitsmosttdexpensive''patients,theseindividualsare

                   frequently placed back on M edicareand/orM edicaid,shifting theirhealthcare



                                                    23
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 23 of 34




                    obligations to these program sw hen Hum ana had accepted the risk ofincreased

                    costsby participating in the M edicare A dvantage program and receiving risk-

                    adjustedpaymentsfrom thegovernmentonaccountofpatients'diagnoses;
                    Second,asHumanaprofitsfrom thedifferentialbetweenitsprojectedandactual
                    costs,the governm entis essentially paying Hum ana an additionalklprofit''when

                    they violate the 1aw by pressuring theirm ostexpensive patientsto disenroll;and

               c. Third,Humana'sprofit-driven schem eactsto deprivetheirpatientsoftheir

                    preferred health insurance w hen they need itthe m ost. Patientchoice isa key

                    elem entofthe M edicare A dvantageprogram and Hum ana underm inesthispolicy

                    goalby m anipulating patients'insurance coverage depending on the future costs it

                    w illincur.

                    1.     Specific PatientExam ples

           A tthe M arch 4,2019 W eekly M eeting,H um ana directed thatPatient 1 be im m ediately

    discharged from thefacility regardlessofhisorhermedicalcondition orneeds.l Patient1had

    been adm itted to RegentsPark exactly tw o w eeks earlierw ith m ultiple diagnoses including a left

    rib fracture.

    86.    Hum ana further directed thatPatient2 be discharged the follow ing day,again w ithout

    regard to his orherclinicalcondition. Patient2 w asadm itted to RegentsPark three w eeks

    earlier. ltwasm ostcom m on forHum ana to directa m axim um stay oftw o-w eeks,butin som e

    circum stancesthey directed a patientbe treated forthree w eeksor longer.




        1The patientexam plesin thisCom plainthave been anonym ized to protecttheiridentity.
    Relatorhas separately provided the D epartm entofJustice w ith identifying inform ation regarding
    these individuals.

                                                    24
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 24 of 34




    87.     A lso atthe M arch 4th m eeting,H um ana noted thatPatient3's condition w as ûtcom plex''

    and thatthe facility staffshould speak with thispatient's spouse aboutdisenrolling him or her

    from H um ana'sM edicare A dvantage Plan. Thispatienthad m ultiple diagnoses including

    Parkinson's disease,H odgkin lym phom a,and aspiration pneum onia.

    88.     A tthe April8,2019 W eekly M eeting,the Hum ana representative decreed thatPatient 4

    w ould be given only atw o-week stay. The following w eek,the representative decided that

    Patient4 w as tûtoo sick''and thatthe facility needed to ûtgethim on M edicare.'' Thisdirection

    w asrepeated atthe April22nd m eeting,in w hich the H um ana representative declared the patient

    needed to ûûgetout.''

            A lso atthe A pril8th m eeting,Hum ana directed thatPatient 5 w ould be given only a

    tw o-week stay,and thatPatient6 should be ttencouraged to apply to M edicaid.'' Thissam e

    direction regarding Patient6 w asrepeated atthe A pril 15th m eeting. This patient'sm edical

    records from the April22nd m eeting indicate thatthe patientw as enrolled in M edicaid on that

    date.

            Atthe A pril 15,2019 m eeting,H um ana directed thatPatient7 be discharged from

    H um ana'sM edicare A dvantage Plan and enrolled in traditionalM edicare and M edicaid,even

    though itwasdiscussed in thism eeting thatthe patienthad m ade iûsignificantprogress''during

    thepriorsixdaysofrehabilitationtherapy(whichM edicarecoversbutM edicaiddoesnot).
            H um ana furtherdirected during thism eeting thattw o otherpatients,Patient8 and

    Patient9,be disenrolled from Hum ana and transferred to M edicaid. Patient8's m edicalrecord

    forthism eeting indicated asattbarrier''to dischargethatthispatientSûcan'tafford m orehelp.''

    Patient9'sm edicalrecord forthism eeting sim ilarly indicated asa tûbarrierto discharge''thatthe

    Patientttcan'thire help-''



                                                   25
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 25 of 34




            B.     NaviD irectsPatients To Be D ischarged Before They H ave R eceived AIl
                   Necessary T reatm ent

    92.     RegentsPark also has residents who have been adm itted to the facility directly from the

    Tenethospitals Delray and W estBoca,and w ho are covered by the BPCIProgram . U nderthis

    program ,Tenetand its ûkconvener''N avican receive incentive paym ents from CM S ifthey can

    reducethenecessary healthcare costsforcovered patientswho aredischarged from ahospital

    stay into post-acute care,such as a nursing facility.

    93.     A representative from N avialso participates in RegentsPark's W eekly M eetings,and for

    a sim ilarreason asdoesthe H um ana representative- to geta preview ofthe treatm entthatis

    neededforcoveredpatientsandtointervenetomanipulate(restrict)thattreatmenttoincrease
    profitsforNaviand Tenet.

            The directives from theN avirepresentative reflecta strictrationing ofpost-hospitalcare

    thatis m adew ithoutregard to the individualized needs ofpatients orinputfrom theirclinical

    providers.

    95.     H ere again,staffofRegentsPark are coerced to obey N avi'sdirectives outoffearthat

    theywouldotherwiseloseTenetasasourceofnew residentadmissions,asTenetisamajor
    source ofnursing hom e adm issionsnotonly in the Palm Beach area butnationwide and hasthe

    ability to directitsdischarged patients aw ay from othernursing hom e facilities m anaged by Itex

    and theirw eb ofrelated owners. Sim ilarly,N aviactsas a convenerforotherlocalhospitalsas

    w elland could influence those hospitalsto directtheirdischarged patientsaw ay from Regents

    Park.

    96.     TheNavirepresentative instructsRegentsPark staffon how long covered residents

    shouldremainatthefacility,andinthevastmajorityofcasestheanswerisonlytwoweeks.



                                                    26
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 26 of 34




    Thislength oftim e is setm echanically ratherthan aflerconsideration ofeach patient'sunique

    m edicalcondition and needs.

           A lthough one ofCM S'S goals forthe BPCIProgram isto im prove com m unication

    am ong providersand patients,Regents Park staffare generally told notto inform residentsthat

    they arebeing overseenbyN aviorcovered by a specialgovernmentincentiveprogram .

    98.    A s with patientsthatH um ana w ishesto disenroll,N avidirects facility staffto convince

    residentsand theirfam iliesthatthey should low ertheirexpectations forthe resident'sclinical

    im provem entand acceptan early discharge from RegentsPark.

           In this way,patientcare isbeing rationed w ithoutthe patienteven know ing what

    company(notaclinician)ismakingthedecisionofhow muchmedicalcaretheywillreceive.
    Thisschem e underm inesthe purpose and structure ofthe BPCIProgram by providing worse

    healthcare while costing CM S m ore m oney.

    100. N avi's actionsdescribed herein increase the governm ent'scostofproviding healthcare

    benetits and underm ine the policy goalsofthe BPCIProgram in atleastthree w ays:

               a. First,N aviisfraudulently inflating its profits underthe BPCIprogram by

                  artificially low ering the coststhatitand/orits BPC Ipartners incurforproviding

                  m edically necessary care to patients;

                  Second,N aviis increasing the costsofproviding healthcare benefits to M edicare

                  beneficiariesbecause patientsw ho are discharged from a nursing facility before

                  theirtreatm entiscom plete are m ore likely to have future health com plications as

                  a resultand return to the hospitalorotherproviderto addressthose com plications,
                                                                                                 '

                  and




                                                   27
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 27 of 34




                  Third,N aviisundenuining the pum ose ofthe BPCIProgram ,w hich isto

                  experim entw ith new paym entm odelsthatencourage costsavings while

                  continuing to provide allnecessary care to patients. Patients are deprived of

                  m edically necessary and legally covered treatm entin orderto artificially inflate

                  the profitsofN aviand/orits BPCIpartners.

                  1.      Specific PatientExam ples

    l01. A tthe Aprill5,20l9 W eekly M eeting,the N avirepresentative stated with regard to

    Patient 10 thatN aviitwantshim out''ofthe facility. The N avirepresentative wasupsetatthis

    meeting becausehehad overlookedthispatientwhen he wasfirstadmitted to RegentsPark

    nearly one m onth priorand w ould have pressured the facility to discharge him earlier. Because

    itwasim practicalto discharge thispatientim m ediately w ithoutany explanation orwarning,the

    N avirepresentative reluctantly agreed thatthe patientcould rem ain atRegentsPark untilApril

    26,2019 butshould be discharged atthattim e.

    102. A sw ith a1lreferenced patientexam ples,this discharge directive w as m ade w ithoutany

    inputfrom clinicians w ho provided care to the patientand knew bestw hattreatm entwas

    necessary and appropriate.

           A lso atthe April l5th m eeting,the N avirepresentative directed thatfacility stafftalk the

    fam ily ofPatient 11 into a çlnew baseline''ofprogress. Thispatientw asreceiving skilled care

    underM edicare Pa14 A butN aviw anted the patientsw itched to M edicaid,which doesnotcover

    the sam e typesoftreatm ent.

    104. Patient 12 w as discussed atthe A pril8th and 15th m eetings. A tthe direction ofthe N avi

    representative,thedischarge date forthispatientwassetforAprill8th. However,thispatient

    had been makingprogressand additionaltreatmentwasindicated.Despite effortsby Navito



                                                    28
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 28 of 34




    convince the patientand fam ily thata ltnew baseline''had been reached and no furtherprogress

    waspossible,the fam ily appealed the discharge determ ination.

                  K indred A nd RegentsPark Provide U nnecessary Skilled Therapy To Inflate
                  R UG LevelsA nd M edicare R eim bursem ents

    105. W hile com panies thatprovide M edicare Advantage Plans and participate in the BPCI

    Program ean intlatetheirprofitsby limiting ordenyingpatientcare,companiesthatprovide

    skilled therapy to M edicare beneficiariescan intlate theirprofitsby providing excessive,

    unnecessary services.

    106. M edicare covers skilled therapy treatm entand paysm ore w hen thattherapy isofgreater

    intensity(i.e.,isprovidedformoreminuteseachweek).Tomaximizetheirrevenues,Regents
    ParkanditscontracttherapycompanyKindredprovideexcessive(oftentiultraHigh'')levelsof
    skilled therapy to patientsthatdo notneed thatleveloftreatm ent.

    107. The provision ofunnecessary therapy,particularly in the case ofphysicaltherapy,can be

    hannfulto patientsw ho are elderly orfrail. The U ltra H igh RU G levelisreached only by

    providingatleast720minutes(12hours)oftherapyaweek.Thissubjectspatientstohoursand
    hours ofunnecessary treatm ent,often during periods when they are suffering from various

    medicalconditionsoroldage,whichcanresultinseverephysicalandmentalinjuries.
    108. To im plem entthis schem e,Regents Park and Kindred w illfabricate clinicalconditions

    that(iftrue)wouldjustifytheprovisionofgreateramountsofskilledtherapytoresidents.
    Regents Park outsources the provision ofskilled therapy servicesatitsfacility to K indred.

    109. ln som e cases,thisinvolves providing a patientw ith additionaltypes ofskilled therapy -

    physical,occupational,or speech therapy - in addition to whatthey actually require. ln other

    cases,thisinvolvesm isrepresentingthatapatientrequireseven onetypeoftherapy whenthey do

    notrequire skilled therapy atall. In m any cases,once a patientbeginsskilled therapy,Regents


                                                   29
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 29 of 34




    Park and K indred w illkeep providing skilled therapy to thatpatientas long asM edicare w illpay

    for it,w ellbeyond the tim e w hen itprovidesany clinicalbenefitto the patient.

    110. So long as Regents Park can find any reason to keep a residentadm itted to itsfacility,

    such as becausethey require nursing serviceslike w ound care,they w illendeavorto m andate

    skilled therapy forthatpatientregardlessofw hetherthere is a m edicalneed forthatservice.

           OneofthenursingservicesthatRegentsParkusestojustifykeepingpatientsatthe
    facility and billing M edicare fortheirtreatm entisrespiratory therapy. Regents Park instructsits

    respiratory therapists to billa pre-determ ined num berofm inutespertreatm ent,regardless of

    how m uch tim e wasactually spentw ith a patient,to m axim ize M edicare revenue. Forexam ple,

    respiratory therapists are instnzcted to bill30 m inutesifone m edication isdelivered by a

    nebulizerand 45 m inutes iftw o m edicationsare so delivered,to bill15 m inutes forturning a

    CPAP (ContinuousPositiveAirwayPressure)deviceonoroff,and30minutesforanassessment
    w ith an additional l5 m inutes ifequipm entisprepared.

    112. The totalnum ber ofrespiratory m inutesthatRegentsPark billsto M edicare isinflated to

    such adegreethatitlacksthestaffnecessary to administertreatm entfora1lm inutesbilled.

                          Specific PatientExam ples

           A tthe M arch 4,2019 W eekly M eeting,Patient13 wasdiscussed.Thispatienthad been

    adm itted to the facility on February 16,2019 and had been kepton physicaltherapy since that

    tim e in orderto billM edicare even though the patientwasunable even to w alk.

           A lso atthe M arch 4th m eeting,Patient14 wasdiscussed.Thispatientw as to be

    discharged the following day becausethey had exhausted the 100 daysofskilled therapythat

    M edicarecovers. Thispatienthad been given physicaland occupationaltherapy fortheentire

    duration oftheirstay.
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 30 of 34




    115. Atthe A pril1,2019 W eekly M eeting,itwasdiscussed thatPatient 15 had a scheduled

    discharge date ofAprill1th. ltw as detennined to postpone discharge by 8 daysto billfor

    skilled therapy. During the April15th m eeting,itw asdecided thatPatient 15 should rem ain on

    skilled therapy untilA pril231-d because histherapy could be billed ata high rate.

    116. A lso atthe A pril lstm eeting,skilled therapy w as continued forPatient16,although this

    patienthad no need forany skilled treatm ent.Atthe A pril15th m eeting,itw as decided that

    Patient 16 should also receive speech therapy,w hich w ould increase M edicare'sreim bursem ent

    rate.

            Patient 17 w as discussed atthe A pril 15,2019 W eekly M eeting. A lthough the patient

    did notrequire rehabilitation therapy orany nursing hom e treatm ent,thispatientw as assigned to

    skilled therapy fora tw o-w eek period.

    118. Patient 18 w as a long-term residentatRegents Park thatsuffered from paraplegia and

    has notw alked in overten years.Thispatienthad been a private-pay residentsince 2015 and

    had received custodialcare.H ow ever,aftershe had a hospitalstay in M arch 20l9 thatqualified

    herunderM edicarePartA forskilledtherapy (onlyifneeded),shewassubjectedtounnecessary
    physicaltherapy solely to billM edicare.

                                              V II. CO UN TS

                          CO UN T 1: FA LSE O R FM U DU LENT CLA IM S
                                     FederalFalse C laim s A ct
                                       31U.S.C.j3729(a)(1)(A)
    119. Relatorrepeatsand re-allegesparagraphs l-118 as iffully setforth herein.

    120. D efendantsknowingly presented,orcaused to be presented,false orfraudulentclaim s for

    paymentorapprovalinviolation oftheFalseClaimsAct,31U.S.C.j3729(a)(1)(A).
            Suchactionsweredoneknowingly,asthattenu isdefinedin31U.S.C.j3729(b)(1).


                                                    31
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 31 of 34




    122. Because ofD efendants'acts,the United States has sustained dam agesin an am ountto be

    determ ined attrialand therefore isentitled to treble dam agesunderthe False Claim sA ctplus

    civilpenalties foreach violation.

                                C O U NT 1I: FA LSE STAT EM EN TS
                                      FederalFalse C laim s A ct
                                        31U.S.C.j3729(a)(1)(B)
    123. Relatorrepeats and re-alleges paragraphs 1-118 as iffully setforth herein.

    124. Defendantsknow ingly m ade orused,orcaused to be m ade orused a false record or

    statem entm aterialto a false orfraudulentclaim in violation ofthe False Claim sA ct,

    31U.S.C.j3729(a)(1)(B).
    125. Suchactionsweredoneknowingly,asthattenu isdefined in31U.S.C.j3729(b)(1).
    126. Because ofDefendants'acts,the United States has sustained dam agesin an am ountto be

    detennined attrialand therefore isentitled to treble dam agesunderthe False Claim sA ctplus

    civilpenalties foreach violation.

                             C O UN T 111: R EV ER SE FA LSE CLA IM S
                                      FederalFalse C laim s A ct
                                        31U.S.C.j3729(a)(1)(G)
    127. Relatorrepeatsand re-allegesparagraphs 1-118 as iffully setforth herein.

    128. D efendantsknow ingly m ade orused,oreaused to be m ade orused false records or

    statem entsm aterialto an obligation to pay ortransm itm oney to the United States,orknow ingly

    concealed orknowingly and im properly avoided ordecreased an obligation to pay ortransm it

    moneytotheUnitedStatesinviolationoftheFalseClaimsAct,31U.S.C.j3729(a)(1)(G).
    129. Such falserecordsorstatementsorconcealment,avoidanceordecrease ofan obligation

    topay ortransmitmoney to the United Statesweremadeordoneknowingly,asdefined in

    31U.S.C.j3729(b)(1).


                                                   32
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 32 of 34




    130. Because ofD efendants'acts,the United States has sustained dam agesin an am ountto be

    determ ined attrialand therefore isentitled to treble dam agesunderthe False Claim sA ct,plus

    civilpenalties foreach violation.

                                   VlII. PR AY ER FO R RE LIEF

           W HEREFORE,RelatorrespectfullyrequeststhatthisHonorableCourtenterjudgmentin
    itsfavorand in favorofthe U nited StatesofA m erica and againstDefendantsasfollow s:

           A . Forthe United States,treble dam ages and civilpenaltiespursuantto the False Claim s
           Act,31U.S.C.j3729(a)(l);
           B. Forpre-judgmentinterestonalldamagesawarded;
           C . Forany and a1lreasonable costs,expenses and attorneys'fees;

           D . Foran aw ard to R elatorin the m axim um am ountperm issible underlaw ;and

               Forsuchotherand furtherreliefastheCoul'tdeemsjustandequitable.
                                IX .    DEM AN D FO R JUR Y TR IA L

    A jurytrialisdemandedinthiscase.




                                                  33
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 33 of 34




   N ovem ber )
            - I 2019                         Respectfullysubmitted,


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                                        34
Case 9:19-cv-81559-DMM Document 1 Entered on FLSD Docket 11/15/2019 Page 34 of 34




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    The undersigned hereby certifiesthatservice ofthe above Com plaintw illbe m ade on thisdate
    by certified m ail,retunzreceiptrequested upon the below counsel.

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